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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

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UNITED STATES OF AMERICA         :
                                 :
                                 :
v.                               :         No. 3:16-cr-220(AWT)
                                 :
                                 :
DAVID DEMOS                      :
                                 :
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              ORDER RE DEFENDANT’S SUPPLEMENTAL MOTIONS

       For the reasons set forth below, David Demos’s Supplemental

Motions (Doc. No. 58) are hereby DENIED.

  I.     Point One: Motion for a Bill of Particulars or Dismissal
         of Count 3

       The defendant seeks an order directing the government “to

provide a bill of particulars identifying the alleged victim of

Count 3 and, if the government is unable to do so, order that

that count be dismissed.      Memorandum of Law in Support of David

Demos’s Supplemental Motions (“Def.’s Supp. Memo.”) (Doc. No.

59) at 5.   The court notes that subsequent to the court

informing counsel that the instant motion would be denied, the

government moved to dismiss Count 3 with prejudice.          See

Government’s Motion to Dismiss Count Three (Doc. No. 302).

Because the court had previously informed the parties that this

motion would be denied, however, it sets forth the reasons for

that decision as opposed to simply denying this motion as moot.

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    The defendant bases his motion on the following:

    The superseding indictment identifies two victims by
    name (Ellington and Marathon, two multi-billion hedge
    funds) – victims that can be matched to the trade
    confirmations and interviews conducted by the
    government in connection with Counts 1-2 (Victim 2:
    Marathon) and 4-6 (Victim 1: Ellington).
      Notably absent, however, is any apparent link
    between either Ellington or Marathon and Count 3.
    Indeed, the grand jury exhibits relating to the trade
    recited in Count 3 – exhibits provided to us by the
    government in discovery (trade related “chats”) –
    mention entities other than Ellington and Marathon
    (Victims 1 and 2).

Id. at 4.

    In United States v. Bortnovsky, 820 F.2d 572 (2d Cir.

1987), the court explained that the purpose of Rule 7(f) of the

Federal Rules of Criminal Procedure is to:

    permit[] a defendant to seek a bill of particulars in
    order to identify with sufficient particularity the
    nature of the charge pending against him, thereby
    enabling [a] defendant to prepare for trial, to
    prevent surprise, and to interpose a plea of double
    jeopardy should he be prosecuted a second time for the
    same offense.

820 F.2d at 574.   “Generally, if the information sought by

defendant is provided in the indictment or in some acceptable

alternate form, no bill of particulars is required.”         Id.; see

also United States v. Chen, 378 F.3d 151, 163 (2d Cir.

2004) (“[A] bill of particulars is not necessary where the

government has made sufficient disclosures concerning its

evidence and witnesses by other means.” (quoting United States

v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999)); United States v.

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Society of Independent Gasoline Marketers, 624 F.2d 461, 466

(4th Cir. 1979) (no bill of particulars required where extensive

disclosure of documents and testimony), cert. denied, 449 U.S.

1078 (1981).

    Here, the government’s memorandum describes disclosures

sufficient to identify the victim of Count 3 as DW Investments.

I.e., the grand jury transcripts and exhibits, in addition, the

government has expressly stated to the defense that DW

Investments is the victim of Count 3.

    Therefore, the motion for a bill of particulars or, in the

alternative, to dismiss Count 3, is being denied.

  II.    Point Two: Motion to Strike Phrase from Paragraph 4

    Paragraph Four of the Superseding Indictment reads as

follows: “Demos’s victims are known by the Grand Jury to have

been certain of Cantor's customers, including but not limited to

the institutions described in Paragraphs 7 and 8.”           Superseding

Indictment (Doc. No. 47) ¶ 4.        The defendant moves to strike the

phrase “including but not limited to.”

    Citing to United States v. Pope, 189 F. Supp. 12 (S.D.N.Y.

1960), the defendant asserts that “numerous courts in this

Circuit have made clear that it is unconstitutional for the

government to include phrases like ‘at least’ or ‘including but

not limited to’ in an indictment where those phrases imply that

the defendant committed other uncharged crimes.”           Def.’s Supp.

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Memo. at 6.

    In United States v. Kassir, No. 22 04 Cr. 356(JFK), 2009 WL

995139 (S.D.N.Y. April 9, 2009), the court discussed when

“broadening phrases” are problematic.      “[S]urplus language

generally may be stricken only if it is irrelevant to the charge

and inflammatory.   In certain instances, however, language must

be stricken because it impermissibly expands the charge.”         2009

WL 995139, at *3 (citation omitted).      In Kassir the court

explained:

      The leading case on this is Judge Weinfeld's
    decision in United States v. Pope, 189 F. Supp. 12
    (S.D.N.Y.1960). There, charging paragraphs in the
    indictment alleged that a statement by defendants was
    materially false and misleading because, “among other
    things,” the statement contained a particular
    falsehood. The court struck the quoted phrase because
    it “would permit the prosecution to go beyond the
    specific charge of falsity made by the grand jury.”
    The language impermissibly delegated to the
    prosecution the authority to enlarge the specific
    charges, which could have resulted in “depriving [the]
    defendant of his constitutional right to be accused of
    a felony offense only on the basis of a grand jury
    indictment.”

Id. (quoting Pope, 189 F. Supp. at 25-26).       The court noted,

however, that the “[t]he problem identified in Pope only

arises . . . if the broadening language appears in a charging

paragraph.”   Id.

    Here, the broadening phrase does not appear in a charging

paragraph and does not in any other way permit the government to

expand the charges, which are specified in the charging

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paragraph of the Superseding Indictment, paragraph 26.

Moreover, were the language at issue struck, the indictment

would falsely state that the only victims were Ellington

Financial LLC and Marathon Asset Management.       See Kassir, 2009

WL 995139, at *3 (“Were the quoted language struck, the sentence

falsely would state that all overt acts in furtherance of the

Bly, Oregon plot took place in this district.”).

  Therefore, the motion to strike language from paragraph 4 of

the Superseding Indictment is being denied.

  III. Point Three: Motion to Preclude Evidence of Uncharged
       Conduct

    The defendant moves for an order precluding the government

from offering any uncharged conduct in this case.

    For the reasons discussed in the Order re Defendant’s

Motion in Limine (Doc. No. 143) (Uncharged Trades) (Doc. No.

245), the government will not be allowed to introduce evidence

of uncharged trades as direct evidence of the scheme charged in

the Superseding Indictment.    However, for the reasons set forth

in the Order re Government’s 404(b) Motion (Uncharged Trades)

(Doc. No. 289), the government will be allowed to introduce, as

404(b) evidence, documents and testimony concerning eight

uncharged trades.

    Therefore, the motion to preclude the government from

offering any uncharged conduct is being denied.


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    It is so ordered.

    Signed this 23rd day of April, 2018, at Hartford,

Connecticut.




                                      /s/ AWT__
                                 Alvin W. Thompson
                                 United States District Judge




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